Case 5:18--cr 00059- -CUN)QWW]H@S Mf&j~lé(i@RTPage 1 of .1 Page|D 23
NORTHERN DISTRICT OF TEXAS

  
   

 

 

 

 

 

 

 

 

 

 

 

Lubbock Division

331ng

HONORABLE: D. GORDON BRYANT, JR. PRESIDING é/,§: / /
Pé.s
DEPUTY CLERK: DDDAVIS COURT REPORTER/TAPE‘X*§H;[B£ER: MEC
£zé`
LAW CLERK: N/A USPO: PAULMICHAEL LUCERO §§
INTERPRETER: N/A Date: Jul 11, 2018
Cr. No. 5:18-CR-00059-C-BQ DEFT. No. 1

l\';NITED STATES OF AMERICA § RUSSELL LORFING for JEFFREY HAAG , AUSA
DERRICK ALAN THOMAS § SARAH GUNTER (FPD)
Defendant's Name Counsel for Deft. Appt-(A), Retd-(R), FPD-(F)

 

ARRAIGNMENT/REARRAIGNMENT

Time in Court: 110:00-10:17(17ma' ‘
Trial Status: ["' Completed by Jury Verdict [" Continued from Previous Month [_ Directed Verdict [_. Evidence Entered
I_ Hung Jury I" Jury Selection Only, continued I_' Jury Selection or Verdict Only (No Trial Before this Judge)

}_ Mistrial [_ Settled/Guilty I')? None
Days in Trial:

Hearing Concluded: IY Yes I_ No
[5<'> Defendant SWORN.
l_' Arraignment IY Rearraignment -Held On COunt (S) 1

Ofthe l COlmt(S) I_;f Indictment I'>? Information l_ Superseding Indictment l" Complaint
I_f Superseding Information

 

I_ Sentencing Guidelines

I)_('j Delt enters a plea of I_; Not Guilty IY Guilty I'_' Nolo
I'_ Waiver of Jury Trial

I$<' Waiver of Indictment filed

IY<' Plea Agreement accepted l_ Court defers acceptance of Plea Agreement
IY Plea Agreement filed (see agreement for details) l_: No Plea Agreement

]_ Plea Agreement included with Factual Resume.

[“>z Factual Resume filed.

 

in Sentencing set Dat€! Tim€! .
j"" Trial set for Date! Time:
Pretrial motions due: Discovery motions/Government Responses due:

la Orders for PSl, Disclosure Date and Setting Sentencing entered.

 

l_ pSI Waiver fl]ed_ PSI due: Pre-sentence Referral Form to:

I~ Deft Bond I_ Set l'_ reduced to 3 ["' Cash l'- Surety I_ 10% l- PR
I-f Deft failed to appear, bench warrant to issue.

I"', Bond l_.; continued I_ forfeited

I'>? Deft Custody/Detention continued.
[>-<' Deft REMANDED to custody.

Arraigned & Rearraigned on the INFORMATION filed 7/2/18. Plea docs signed, Waiver & Consent signed.
Essential elements of the chrgs/penalties read. Plead Guilty to Ct. l. MJ recommends Guilty Plea be accepted,
Order of Recommendation to be entered. 14-days to object. Probation will prepare a PSReport upon acceptance
of the plea. The Dist. Judge will enter Orders accepting Plea & setting Sentencing. Deft is remanded to custody.

 

OTHER PROCEEDINGS:

 

 

 

 

 

